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10                               UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN JOSE DIVISION
13

14   IN RE GOOGLE DIGITAL                      )   Case No. 20-cv-3556-BLF
     ADVERTISING ANTITRUST                     )
15   LITIGATION                                )
                                               )   DEFENDANTS’ STATEMENT
16                                             )   REGARDING CONSOLIDATION
17                                             )
                                               )   Hon. Beth Labson Freeman
18                                             )
                                               )
19   SWEEPSTAKES TODAY, LLC                    )   Case No. 20-cv-8984-BLF
                 Plaintiff,                    )
20           v.                                )
21                                             )
     GOOGLE LLC, et al.,                       )
22                 Defendants.                 )
                                               )
23                                             )
     GENIUS MEDIA GROUP, INC., et al.          )   Case No. 20-cv-9092-BLF
24
                  Plaintiffs,                  )
25           v.                                )
                                               )
26   ALPHABET, INC, et al.,                    )
                  Defendants.                  )
27                                             )
28
                         DEFENDANTS’ STATEMENT REGARDING CONSOLIDATION
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                                           )
 1
     STERLING INTERNATIONAL                ) Case No. 20-cv-9321-BLF
 2   CONSULTING GROUP,                     )
                  Plaintiff,               )
 3            v.                           )
                                           )
 4   GOOGLE LLC,                           )
                    Defendant.             )
 5
                                           )
 6                                         )
     MARK J. ASTARITA,                     ) Case No. 21-cv-0022-BLF
 7                Plaintiff,               )
              v.                           )
 8                                         )
 9   GOOGLE LLC, et al.,                   )
                   Defendants.             )
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 1           Pursuant to the Court’s Order Setting Case Management Conference for February 4, 2021

 2   (ECF 70), Defendants Google LLC, Alphabet Inc., and YouTube, LLC hereby submit the following

 3   statement concerning consolidation of the five above-captioned actions.

 4   I.      PROCEDURAL BACKGROUND

 5           The four putative class actions that were the subject of the Court’s January 21, 2021 Relation

 6   Order (ECF 68) were filed within the last two months by plaintiffs who characterize themselves as

 7   display advertising “publishers”: Sweepstakes Today, LLC v. Google LLC, No. 20-cv-8984-BLF

 8   (“Sweepstakes Today”); Genius Media Group, Inc. v. Alphabet Inc., No. 20-cv-9092-BLF (“Genius

 9   Media”); Sterling International Consulting Group v. Google LLC, No. 20-cv-9321-BLF (“Sterling”);

10   and Astarita v. Google LLC, No. 21-cv-0022-BLF (“Astarita”). All four of those actions have now

11   been related to In re Google Digital Advertising Antitrust Litigation, No. 20-cv-3556-BLF (“Digital

12   Ads Litigation”). As Defendants explained in their relation motions, the Digital Ads Litigation

13   differs insofar as the named plaintiffs are “advertisers” rather than “publishers,” but in other respects

14   the complaints allege substantially similar conduct and seek to certify classes that include display

15   advertising “publishers.” See, e.g., Digital Ads Litigation, ECF 61.

16           On January 27, counsel for the plaintiffs in Sweepstakes Today, Genius Media, and Sterling

17   indicated to Defendants that they will seek to consolidate only their complaints, whereas counsel for

18   the plaintiffs in Astarita indicated that they are amenable to a single consolidated publisher

19   complaint on behalf of all four publisher plaintiffs. While the plaintiffs do not agree on the extent of

20   consolidation amongst their four complaints, all agreed to hold in abeyance deadlines to answer or

21   move to dismiss their respective complaints pending resolution of these issues.

22   II.     THE FOUR “PUBLISHER PLAINTIFFS” SHOULD FILE A CONSOLIDATED

23           AMENDED COMPLAINT

24           Defendants respectfully submit that the four “publisher plaintiffs” (i.e., the plaintiffs in

25   Sweepstakes Today, Genius Media, Sterling, and Astarita) should file a single consolidated amended

26   complaint after appointment of interim class counsel pursuant to Rule 23(g)(3). Defendants take no

27   position on the selection of lead counsel, and simply seek an orderly process by which to respond to

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 1   one consolidated amended complaint from these four “publisher plaintiffs.” Whenever the

 2   “publisher plaintiffs” file such a consolidated amended complaint, Defendants are prepared to

 3   respond within 45 days of its filing. In the meantime, as noted above, all four of the “publisher

 4   plaintiffs” have agreed that Defendants’ deadlines to respond to their individual complaints should

 5   be vacated.1 Additionally, in light of the overlap in allegations between the pending First Amended

 6   Complaint in the Digital Ads Litigation (ECF 52) and the various “publisher” complaints—as set

 7   forth in the motions to relate each of the four latter cases to the Digital Ads Litigation—Defendants

 8   respectfully submit that the consolidated amended complaint to be filed by the “publisher plaintiffs”

 9   should be consolidated, at least for pretrial purposes, with the Digital Ads Litigation, pursuant to

10   Rule 42(a).

11             Defendants understand that counsel for Sweepstakes Today, Genius Media, and Sterling will

12   advocate filing a consolidated amended complaint on behalf of the plaintiffs in those three actions

13   while leaving Astarita as a standalone “publisher action.” That proposal should be rejected. Mr.

14   Astarita alleges that he is a “publisher” who received payments from Google for making “advertising

15   space available” on his website, and he seeks to certify a class that includes persons who “used

16   Google’s display advertising services to … place an ad from a third party on their own website

17   (publishers).” Astarita, ECF 1 ¶¶ 8–10, 211. Based on the allegations in the complaints, it is beyond

18   dispute that the plaintiffs in the other three “publisher actions” would be members of Mr. Astarita’s

19   proposed class, and that he would be a member of their putative classes. Although there are some

20   differences between Mr. Astarita’s complaint and the other three “publisher” complaints, those

21   differences are no more or less meaningful than the distinctions among those three other “publisher”

22   complaints. For example, Sweepstakes Today’s proposed class purports to include “[a]ll persons and

23   entities who sold digital advertising space” regardless whether they used a Google product or service

24   to do so, Sweepstakes Today, ECF 1 ¶ 194, while the other plaintiffs’ proposed classes are limited to

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     1
26       The earliest of the four response deadlines presently in place is February 16, and the latest is March

27   5. See Sweepstakes Today, ECF 11; Genius Media, ECF 63; Sterling, ECF 15; Astarita, ECF 5.
28                                                      -2-
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 1   “publishers” that used a Google product or service. See Genius Media, ECF 1 ¶ 101; Sterling, ECF 1

 2   ¶ 172. Despite that distinction, Sweepstakes Today has argued that its case should be consolidated

 3   with Genius Media and Sterling because “all three complaints allege substantially similar claims

 4   under the Sherman Antitrust Act by a similarly defined class of digital publishers.” Sweepstakes

 5   Today, ECF 24 at 4. The same logic leads to the ineluctable conclusion that Astarita should be

 6   consolidated with these other three “publisher actions.”

 7            Consolidation of all four “publisher actions” unquestionably furthers “[t]he purpose of

 8   consolidation” by “avoid[ing] the unnecessary costs or delays that would ensue from proceeding

 9   separately with claims or issues sharing common aspects of law or fact.” Siegall v. Tibco Software,

10   Inc., 2006 WL 1050173, at *2 (N.D. Cal. Feb. 24, 2006). If Astarita proceeds separately, then the

11   parties and the Court will be forced to address many of the same legal issues twice, including

12   whether the same conduct alleged by both groups of “publishers” is sufficient to state a claim under

13   the antitrust laws. See, e.g., Deinnocentis v. Dropbox, Inc., 2020 WL 264408, at *2 (N.D. Cal. Jan.

14   16, 2020) (consolidating actions that “arise from the same facts and circumstances” and “involve the

15   same subject matter and the same class” because “the same discovery and similar class certification

16   issues will be relevant to all related actions”).

17   III.     CONCLUSION

18            For these reasons, Defendants respectfully submit that the Court should enter an order (i)

19   directing the plaintiffs in Sweepstakes Today, Genius Media, Sterling, and Astarita to file a single

20   consolidated amended complaint; (ii) vacating Defendants’ deadlines to respond to the individual

21   complaints filed in those four actions and directing Defendants to respond to the consolidated

22   amended complaint within 45 days of its filing; and (iii) consolidating the resulting single

23   “publisher” case with the ongoing Digital Ads Litigation, at least for pretrial purposes.

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 1   DATED: January 28, 2021            WILLIAMS & CONNOLLY LLP

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